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                                                                           FILED
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MONTANA
                                    MISSOULA DIVISION
      WILDEARTH GUARDIANS,                  Lead Case No. CV-16-65-M-DWM

                  Plaintiff,                Member Case No. CV-17-99-M-DWM
            and
                                            UNOPPOSED MOTION FOR LEA VE
      CENTER FOR BIOLOGICAL                 TO FILE A BRIEF AS AMICI CURIAE
      DIVERSITY,                            IN SUPPORT OF FEDERAL
                                            DEFENDANTS
                  Consolidated Plaintiff,
            V.

      UNITED STATES FISH & WILDLIFE
      SERVICE, et al.,

                  Defendants,
            and

      MONTANA TRAPPERS ASSOC.,
      NATIONAL TRAPPERS ASSOC.,
      and FUR INFORMATION COUNCIL
      OF AMERICA,

                  Defendant-Intervenors.


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      Pursuant to Montana District Court Local Rule 7.5(b), the States

of Wisconsin, Alaska, Michigan, Montana, and Wyoming (hereinafter

called the Coalition States, or States), by undersigned counsel,

respectfully move this Court for leave to file a brief amici curiae in

support of the Federal Defendants in this consolidated case. The

attorneys for the States have contacted the Plaintiffs, Federal

Defendants, and Defendant-Intervenors, and none oppose the States'

participation as amici. 1

      In consideration of this Court's case management order of

September 26, 2017 (Dkt. 73), the States propose filing a single brief of

no more than 5,000 words on or before March 30, 2018, seven days after

the opening briefs of Federal Defendants and Intervenors. 2

                      INTEREST OF AMICI CURIAE
      This case involves challenges to the Federal Defendants' decision

to maintain in its current form the CITES Furbearer Export Program



  1 Federal Defendants take no position on the States' participation, but affirmed
the captioning of this motion as "unopposed." Plaintiffs do not oppose the States'
participation, on the conditions that amici do not submit extra-record evidence, and
that Plaintiffs may seek leave of the Court for additional time or words to respond
to amici 's arguments.
  2 This timeline is adopted from the procedure governing amicus briefs in the

United States Courts of Appeals. See Fed. R. App. P. 29(a)(6).

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        (the Export Program). The Export Program "is a mechanism to provide

        for an efficient export permitting process" for pelts or other specimens

        from five species: bobcat, river otter, gray wolf, Canada lynx, and brown

        bear. (See Dkt. 56-3:65.) But as the U.S. Fish & Wildlife Service

        (Service) reiterated throughout its Final Environmental Assessment for

        the Export Program, neither the Service nor any other federal entity

        actually oversees harvest methods or tagging of any of the species at

        issue. (See, e.g., Dkt. 56-3:8.) The Export Program, therefore, is not a

        program of direct wildlife management; that significant responsibility

        "remains with the States and Tribes." (Dkt. 56-3:9, 15; see also Dkt.

        79:9 - 10 (Federal Defendants' response in opposition to motion to

        dismiss, noting that "the Service's administration of the Furbearer

        Program does not control or direct state and tribal hunting and

        trapping regimes").)

             So, while Plaintiffs' allegations directly challenge the

        reasonableness of the Federal Defendants' decision-making process in

        maintaining the Export Program, it is the States and their citizens who

        would most immediately feel the impacts of Plaintiffs' requested relief,

        which includes enjoining certain aspects of the current Export Program.



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       For the Coalition States, then, Plaintiffs' challenges implicate at

least three unique, substantial, and interconnected state interests: (1)

protecting state sovereignty and individual rights related to trapping

and hunting; (2) reaffirming the capability and accountability of state

wildlife managers; and (3) preserving economic and cultural benefits

derived from trapping and hunting.

      In the proposed brief, the States would focus on these interests as

demonstrating additional support for the reasonableness of the Federal

Defendants' decision to maintain the Export Program in its current

form. 3 The following discussion briefly outlines the substantial state

interests at issue.

      A.     Protecting state sovereignty and individuals' rights

      As sovereigns, each of the Coalition States exercises legal

authority over wildlife within its jurisdiction. In Wisconsin, for

example, the state is vested with "legal title to, and custody and


  3
    Plaintiffs also raise a claim challenging the 2012 Biological Opinion regarding
the effects of bobcat trapping on lynx, as well as the Incidental Take Statement
incorporated therein. (See 0kt. 62: 15, 20 - 23.) To the extent the Biological
Opinion and the Incidental Take Statement are properly on review before this
Court, the Coalition States also support Federal Defendants' decisions therein, and
seek to address the merits of those claims as they pertain to the state interests
presented.

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protection of, all wild animals within ... the state for the purposes of

regulating the enjoyment, use, disposition, and conservation of these

wild animals." Wis. Stat.§ 29.011(1). Comparable provisions govern

state authority over wildlife in each of the Coalition States. See, e.g.,

Alaska Const. art. VIII, § 4 (state natural resources must be "utilized,

developed, and maintained on the sustained yield principle, subject to

preferences among beneficial uses"); Mich. Comp. Laws§§ 324.40105

(ownership of wild animals vested in people of the state), 324.40107

(state management of wild animals); Mont. Code Ann.§ 87-1-201(1) - (3)

(state supervision of wildlife); Wyo. Stat. Ann. § 23-1-103 (West 2017)

(all wildlife in Wyoming is property of the state).

     In addition to state authority and obligations over wildlife, some

states provide separate protections for the individual right to hunt, fish,

and trap, both in statutes and constitutions. See, e.g., Wis. Const. art. I,

§ 26 (guaranteeing right to "fish, hunt, trap, and take game subject only

to reasonable restrictions as prescribed by law"); Alaska Const. art.

VIII, § 3 (reserving fish, wildlife, and waters "to the people for common

use"); Mont. Const. art. 9, § 7 ("The opportunity to harvest wild fish and

wild game animals is a heritage that shall forever be preserved to the


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individual citizens of the state ...."); see also Mich. Comp. Laws

§ 324.40113a(3) (recognizing that "citizens of [Michigan] have a right to

hunt, fish, and take game," subject to restrictions prescribed by law).

     These laws demonstrate that the Coalition States have

substantial, sovereign interests in preserving their authority over

wildlife management, and protecting individual rights in hunting and

trapping of the species at issue.

     B.     Supporting local, science-based wildlife management

     The Coalition States also have substantial interests in reaffirming

the primary role of state natural resource agencies in sustainably

managing wildlife populations. (See, e.g., Dkt. 56-3:55 (EA, noting

States' and Tribes' "professionally run management and research

programs for these species").) These state agencies provide

indispensable, boots-on-the-ground research and analysis about wildlife

populations. 4 See e.g., Mich. Comp. Laws § 324.40113a(2) (state natural

resource commission "shall, to the greatest extent practicable, utilize



 4 The various Coalition States host different mixes of CITES-covered species.
Wisconsin and Michigan have healthy, sustainable populations of both bobcats and
river otters. Wyoming and Montana host thriving bobcat populations. Alaska
manages healthy populations of four of the five species at issue in the Export
Program (all species except bobcat).

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principles of sound scientific management in making decisions

regarding the taking of game"). The data that states collect not only

allow the states to engage in science-based decision-making, but also

provide federal decision-makers with meaningful, localized information

about wildlife populations. That information, in turn, provides the bases

for myriad federal decisions, including those relating to the Export

Program.

      For example, state wildlife management agencies are responsible

for collecting and compiling much of the data necessary to make the

CITES-required findings of legal acquisition and non-detriment. See,

e.g., 50 C.F.R. § 23.6l(b) - (c), (f) (listing relevant considerations;

providing that Service relies on "best available biological information"

in making non-detriment determination). The Service's regulations

recognize the importance and reliability of these State managers, noting

that State management programs are "designed to monitor and protect

CITES furbearers from over-harvest," and that State managers provide

"necessary information" to allow the Service to fulfill its CITES

obligations. See 50 C.F.R. § 23.69(b) (emphasis added).




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        As the regulations illustrate, state wildlife managers have strong

incentives to provide accurate, meaningful data about CITES-covered

populations. See 50 C.F.R. § 23.69(b) - (c). Likewise, for purposes of this

litigation, the Coalition States have a substantial interest in

demonstrating that the state data reasonably support the Federal

Defendants' decision to maintain the Export Program in its current

form.

        C.   Preserving economic and cultural benefits of trapping
             and hunting

        Finally, in each of the Coalition States, trapping and hunting are

both economically and culturally significant. Wisconsin, for example, is

a national leader in fur harvest and export. Of the 150,000 trappers

licensed annually in the United States, Wisconsin licenses over ten

percent (20,000 trappers). For Wisconsin and each of the Coalition

States, these licensing fees support management and conservation

efforts, including for CITES-covered species. Further, trappers and

hunters contribute millions of dollars annually to local economies

through expenditures associated with the activities (e.g., travel,

equipment, outfitting, and lodging), as well as through the sale of pelts

to local fur buyers.

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     The resale of pelts is a particularly important interest for

Wisconsin, which is home to the United States' hub of the North

American Fur Auction. That auction is the source of the majority of

pelts exported from the United States-including an estimated 50,000

bobcat pelts and 70,000 river otter pelts. An injunction like that

contemplated in Plaintiffs' requested relief-for example, prohibiting

export of bobcat pelts from certain states-would deprive states and

their citizens of substantial revenue derived from export of the covered

species.

     Relatedly, trapping and hunting are culturally important for

individuals, families, and communities across the Coalition States.

See, e.g., Mich. Comp. Laws§ 324.40113a(3) (declaration that hunting,

fishing, and taking of game "are a valued part of the cultural heritage of

this state," as well as "an important part in the state's economy and in

the conservation, preservation, and management of the state's natural

resources"). These activities provide food, income, clothing, recreation,

and cultural continuity for tens of thousands of hunters and trappers.

      Economic and cultural interests, therefore, provide further

support for the Coalition States' participation in the current litigation.



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 DESIRABILITY OF A BRIEF FROM THE COALITION STATES
     A brief from the Coalition States is desirable to adequately

address how the interests discussed above support the reasonableness

of the Federal Defendants' decision to maintain the Export Program.

Although existing parties will unquestionably, and skillfully, defend the

challenged decisions, the States' unique interests likely would not be

addressed adequately by any party defendant.

     The Federal Defendants, for example, will likely focus on the

propriety of their decision-making processes as a whole, and how their

decisions complied with the APA, ESA, and NEPA. The States,

however, would present a narrower supporting argument that, in light

of the substantial state interests implicated, the Federal Defendants

acted reasonably in evaluating alternatives and sustaining the Export

Program in its current form. Allowing a brief from the States will

therefore leave the Federal Defendants free to focus more on the

nuances of their decision-making, while at the same time recognizing

the States' strong incentive to demonstrate why, from a state

perspective, the Federal Defendants acted reasonably.




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     Defendant-Intervenors also likely would not adequately address

the interests of the sovereign States. While Defendant-Intervenors will

likely focus their arguments on the economic reasonableness of

maintaining the Export Program in its current form, their arguments

will necessarily be limited to private interests, rather than those of a

state charged with the various aspects of public wildlife management.

     Given these distinct interests, a brief from the Coalition States is

desirable and necessary to present the unique and substantial state

interests in maintaining the Export Program. The States therefore ask

that the Court grant the instant motion, allowing the States to file a

single brief as amici curiae, limited to 5,000 words, on or before March

30, 2018.

     Respectfully submitted this 8th day of February, 2018.

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                            CERTIFICATE OF SERVICE

           I hereby certify that on this date, an accurate copy of the foregoing
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